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                                                                                    CITY OF COTATI, OFFICER ANTHONY GARBER,
                                                                                7   CORPORAL BRIAN DEATON

                                                                                8

                                                                                9                                  UNITED STATES DISTRICT COURT
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10                               NORTHERN DISTRICT OF CALIFORNIA
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11
                                                                                     CHRISTOPHER JAMES ALCALA,                       Case No. 3:20-CV-03414-JCS
                                                                               12
                                                                                                             Plaintiff,              STIPULATION AND PROPOSED ORDER TO
                                                                               13                                                    EXTEND DEADLINES
                                                                                             v.
                                                                               14                                                      Hon. Jacqueline Scott Corley
                                                                                     CITY OF COTATI, OFFICER
                                                                               15    ANTHONY GARBER, CORPORAL
                                                                                     BRIAN DEATON and DOES 1-50,                     Trial:    April 11, 2022
                                                                               16    included,

                                                                               17                            Defendants.

                                                                               18

                                                                               19

                                                                               20          After meeting and conferring on upcoming dates, the Parties by and through their counsel

                                                                               21   hereby stipulate and request a trial continuance and resetting of discovery and the dispositive

                                                                               22   motion hearing date. The parties have not sought a continuance of the dates before now.

                                                                               23          Pursuant to FRCP 16(b)(4), there is good cause for this stipulation and request to reset the

                                                                               24   discovery cut off dates. The parties initially agreed to hold off on discovery based on the

                                                                               25   relatively agreed upon “disputed” facts and go to an early settlement conference. The case did

                                                                               26   not settle but calendar conflicts, then trial issues on other cases delayed the taking of the

                                                                               27   depositions of the plaintiff and defendants. It now has become clear that a major trial conflict has

                                                                               28   arisen for plaintiff counsel, Mr. Gohel.
                                                                                                                                                    STIPULATION AND PROPOSED ORDER
                                                                                                                                        1            TO EXTEND DISCOVERY DEADLINES
                                                                                                                                                                     3:20-CV-03414-JCS

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                                                                                       Case 3:20-cv-03414-JSC Document 34 Filed 06/16/21 Page 2 of 3



                                                                                1          Mr. Gohel is involved in a large RICO murder trial before Judge Chen, which relates to

                                                                                2   the Hells Angels Motorcycle Club, US v Nelson, et. al. He represents the lead defendant

                                                                                3   Jonathan Nelson. It was scheduled for trial in October 2021, but recently the trial was continued

                                                                                4   to January 2022. Mr. Gohel had anticipated the April 11, 2022, trial date would not be in conflict,

                                                                                5   given the length of the Nelson trial (likely about 5 months), but that is no longer the case.

                                                                                6          The parties have various conflicts over the summer leading to conflicts in completing

                                                                                7   discovery and ask the trial date to be continued, and discovery dates and dispositive motion dates

                                                                                8   be reset accordingly.

                                                                                9          The parties have met and conferred, and ask for any date convenient to the courts calendar
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                               10   beginning Monday August 15, 2022. The trial estimate remains 4 days. The parties intend to
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




                                                                               11   return to Judge Illman for a further settlement conference after the close of discovery.

                                                                               12          For these reasons, the parties respectfully request the continued dates listed below.

                                                                               13          Fact Discovery Cut- Off                         October 17, 2021

                                                                               14          Expert Witness Discovery                        November 15, 2021

                                                                               15          Rebuttal Expert Disclosure                      December 12, 2021

                                                                               16          Expert Discovery Cut-Off                        January 17, 2022

                                                                               17          Deadline for Hearing Dispositive Motions        March 10, 2022

                                                                               18          Pretrial Conference                             TBD by Court

                                                                               19          Trial Date                                      August 15, 2022, or TBD by Court

                                                                               20
                                                                                                                                   Respectfully submitted,
                                                                               21
                                                                                    Dated: June 16, 2021                           ALLEN, GLAESSNER,
                                                                               22                                                  HAZELWOOD & WERTH, LLP
                                                                               23

                                                                               24                                                  By:    /s/ Dale L. Allen Jr.
                                                                                                                                         DALE L. ALLEN JR.
                                                                               25                                                        KEVIN P. ALLEN
                                                                                                                                         Attorneys for Defendants
                                                                               26                                                        CITY OF COTATI, OFFICER ANTHONY
                                                                                                                                         GARBER, CORPORAL BRIAN DEATON
                                                                               27

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                                                                                                                                                   STIPULATION AND PROPOSED ORDER
                                                                                                                                       2            TO EXTEND DISCOVERY DEADLINES
                                                                                                                                                                    3:20-CV-03414-JCS

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                                                                                1
                                                                                    Dated: June 16, 2021
                                                                                2

                                                                                3                                       By:    /s/ Jai Gohel
                                                                                                                          PATRICK CIOCCA
                                                                                4                                         JAI GOHEL
                                                                                                                          Attorneys for Plaintiff
                                                                                5                                         CHRISTOPHER ALCALA
                                                                                6

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                                                                                8   IT IS SO ORDERED.
                                                                                9
ALLEN, GLAESSNER, HAZELWOOD & WERTH, LLP




                                                                                    DATED:                               By:
                                                                                                                               JACQUELINE SCOTT CORLEY
                                                                               10                                              United States Magistrate Judge
                                           180 Montgomery Street, Suite 1200
                                            San Francisco, California 94104




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                                                                                                                                   STIPULATION AND PROPOSED ORDER
                                                                                                                          3         TO EXTEND DISCOVERY DEADLINES
                                                                                                                                                    3:20-CV-03414-JCS

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